 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on the 6th day of July, 2017, I electronically filed the foregoing

 3 documents with the Clerk of this Court, using the CM/ECF System. In accordance with the
 4 electronic filing procedures of this Court, service has been effected on the aforesaid party(s) above,

 5   whose counsel of record is a registered participant of CM/ECF, via electronic service through the

 6 CM/ECF system.

 7          I declare under penalty of perjury that the foregoing is true and correct, and that I am

 8 employed at the office of a member of the bar of this Court at whose direction the service was made.
 9          Executed on July 6, 2017, at Los Angeles, California.

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11                                                        THE BARRY LAW FIRM

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14                                                        DAVID N. BARRY, ESQ.
                                                          Attorneys for Plaintiff
15                                                        GEORGE ADAMS

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